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 5                               UNITED STATES DISTRICT COURT
 6                                    DISTRICT OF NEVADA
 7                                              ***
 8   UNITED STATES OF AMERICA,       )
                                     )
 9                   Plaintiff,      )
                                     )
10   vs.                             )                2:12-cr-109-LDG-PAL
                                     )
11   SABIR PHILIMON,                 )
                                     )
12                   Defendant.      )                         ORDER
     _______________________________ )
13
14          On January 31, 2013, the Court granted Saraliene S. Durrett, Esq.’s “Motion to
15   Withdraw as Counsel of Record” (#75) and ordered new counsel appointed (#76).
16   Therefore;
17          IT IS HEREBY ORDERED that Michael J. Miceli, Esq. is appointed as counsel for
18   Sabir Philimon in place of Saraliene S. Durrett, Esq. for all future proceedings.
19          IT IS FURTHER ORDERED that Ms. Durrett shall forward the file to Mr. Miceli
20   forthwith.
21
            DATED this                day of February, 2013.
22
            Nunc Pro Tunc Date: February 4, 2013.
23
24                                                    __________________________________
                                                      LLOYD D. GEORGE
25                                                    United States District Judge
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